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                             UNITED STATES DISTRICT COURT
                                            FOR THE
                            NORTHERN DISTRICT OF CALIFORNIA



JOHN LARSON,                                           Case Number: CV11-03093 WHA
               Plaintiff,                              CERTIFICATE OF SERVICE
  v.
UNITED STATES OF AMERICA,
               Defendant.
                                             /

I, the undersigned, hereby certify that I am an employee in the Office of the Clerk, U.S. District
Court, Northern District of California.
That on July 5, 2011, I SERVED a true and correct copy(ies) of the attached, by placing said
copy(ies) in a postage paid envelope addressed to the person(s) hereinafter listed, by depositing
said envelope in the U.S. Mail, or by placing said copy(ies) into an inter-office delivery
receptacle located in the Clerk's office.
#13 - PROCEDURAL SCHEDULING ORDER.
United States Attorney
for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Dated: July 5, 2011
                                                 Richard W. Wieking, Clerk


                                                 By: William Noble, Deputy Clerk
